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IN THE UNITED sTATEs DISTRICT CoURT _
FoR THE WESTERN DISTRICT 0F TENNESSE°§ JUL '6 P" 3° 27

 

 

WESTERN DIVISION THOW~S iii GOULD
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MARILYN JOHNSON, et al., )
)
Plaintiffs, ) Case Nos: 00-2608 D P
) 04-2017 D P """"
)
vs. )
)
CITY OF MEMPHIS, )
)
Defendant. )
)
FLORENCE BILLINGSLEY, et al., )
)
Plaintiffs, )
)
vs. ) Case No.: 04-2013 D A
)
CITY OF MEMPHIS, )
)
Defendant. )

 

ORDER ESTABLISHING ORDER OF PROOF FOR TRlAL PURPOSES

 

The parties in this case appeared before the Court on July l, 2005, for a scheduling
conference Among other matters, the parties argued regarding the order of proof and acknowledged
certain burden shifting standards inherent in the trial. It appears that the Court has ruled on a number
of issues in summary judgment orders which may shift the burden of persuasion or the burden of
production in certain instances

Having considered the case matter as a Whoie, and considering that this is a non-jury trial,

the Court hereby orders that the plaintiffs will present their proof tirst, followed by a presenta ' n

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Thls document entered on the docket s

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with Hule 58 and/or 79(a) FRCP on

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of the defendant’s proof, except that on the matter of expert proof, the plaintiffs may present its
rebuttal expert proof after the defendant has presented its case, including its expert witnesses Thus,
the order of proof will proceed as a traditional trial with the plaintiff presenting its case in chief first,
followed by the defendant’s presentation of its case in chief, followed by the plaintiffs rebuttal

proof The Court will sort out and address the shifting burdens as it prepares its merits decision

ir ls so oRDERED Q‘“` day ofJuly, 2005.

  
  

ERNICE B. DONALD
ED STATES DISTRICT JUDGE

  

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This notice confirms a copy of the document docketed as number 27 in
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Sharon Harless Loy

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

David 1\/1. Sullivan

LAW OFFICES OF DAV]D M. SULLIVAN
3251 Poplar Ave.

Ste. 130

1\/1emphis7 TN 38111

Honorable Bernice Donald
US DISTRICT COURT

